Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 1 of 17

National Commission on Terrorist Attacks Upon the United States

Chapter 7
Al Haramain Case Study

The al Haramain Islamic Foundation (al Haramain or HIF) is one of the most important
and prominent Saudi charities.'*° Al Haramain has been on the radar screen of the U.S.
government as a potential terrorist-financing problem since the mid- to late 1990s, when
the U.S. government started to develop evidence that certain employees and branch
offices might be supporting al Qaeda and related terrorist groups.”

The U.S. government, however, never moved against al Haramain or pushed the Saudi
government to do so until after 9/11. Terrorist financing simply was not a priority in its
bilateral relationship with the Saudis before 9/11. Even when discussing terrorist
financing with the Saudis, the U.S. government was more concerned about issues other
than Saudi charities and al Haramain.'*® Meanwhile, the Saudis were content to leave the
issue unexplored.

After the 9/11 attacks, a more focused U.S. government sought to work with the Saudis to
stem the flow of funds from al Haramain to al Qaeda and related terrorist groups.
Progress was initially slow; though some U.S.-Saudi cooperation on al Haramain
occurred within the first six months after 9/11, it was not until the spring of 2003 that the
U.S. government and the Saudi government began to make real strides in working
together to thwart al Haramain.

Background

Al Haramain, a Saudi Arabia—based nonprofit organization established in the early 1990s,
has been described by several former U.S. government officials as the “United Way” of
Saudi Arabia. It exists to promote Wahhabi Islam by funding religious education,
mosques, and humanitarian projects around the world.'””

At its peak, al Haramain had a presence in at least 50 countries. Al Haramain’s main
headquarters are in Riyadh, Saudi Arabia, but it maintains branch offices in a number of

"6 See chapter | for the scope of this analysis.
7 This chapter is derived from a review of internal government document and interviews with government
policy makers. It was especially aided by the commission staff's ability to access and review NSC
subgroup minutes of meetings, as well as internal memoranda from the NSC, State, Treasury and the
intelligence community.

"8 Our investigation has focused on al Haramain in the context of al Qaeda financing. Although much of
our analysis may apply to the financing of other terrorist groups, we have made no systematic effort to
investigate any of those groups, and we recognize that the financing of other terrorist groups may present
the U.S. and Saudi governments with problems or opportunities not existing in the context of al Qaeda.

129 The Web site uses the term salafi, which is the preferred term of Saudi practitioners of Wahhabism.
Some argue that Wahhabism is a virulent form of religious extremism, while others have a more benign
view of it. See chapter 2 for more information.

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Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 2 of 17

Terrorist Financing Staff Monograph

countries to facilitate the distribution of charitable funds. Some of these offices are
staffed by Saudi citizens; others are managed by the nationals of the countries involved.
Estimates of its budget range from $30 to $80 million. It claims to have constructed more
than 1,299 mosques, it funds imams and others to work in the mosques, and it sponsors
more than 3,000 “callers to Islam” for tours of duty in different locations “to teach the
people good and to warn them from wrongs.” HIF provides meals and assistance to
Muslims around the world, distributes books and pamphlets, pays for potable water
projects, sets up and equips medical facilities, and operates more than 20 orphanages.

Although both the Saudi government and al Haramain say that it is a private organization,
al Haramain has considerable ties to the Saudi government. Two government ministers
have supervisory roles (nominal or otherwise) over al Haramain, and there is some
evidence that low-level Saudi officials had substantial influence over various HIF offices
outside of Saudi Arabia. The Saudi government has also historically provided financial
support to al Haramain, although that may have diminished in recent years.

Charity and charitable organizations, like al Haramain, are extremely important to Saudi
society. As discussed in more detail in chapter 2, religious and civic duty and government
and religious functions in Saudi Arabia are intertwined. This dynamic creates
complications for the Saudi government as it seeks to stem the flow of funds from Saudi
Arabia to al Qaeda and related terrorist groups, and difficulties for the U.S. government
as it seeks to engage the Saudis on terrorist financing.

Before 9/11

After the East Africa bombings in the summer of 1998, the U.S. government began to
give more attention to terrorist financing. The National Security Council established a
subgroup of the Counterterrorism Security Group to focus the U.S. government’s efforts
on terrorist financing.'*° As a result of this focus, and the consequent discovery that al
Qaeda was not financed from Bin Ladin’s personal wealth, the NSC became increasingly
interested in Saudi charities and Bin Ladin’s use of charities to fund terrorism.'*!

By no later than 1996, the U.S. intelligence community began to gather intelligence that
certain branches of HIF were involved in financing terrorism. Later, the U.S. intelligence
community began to draw links among HIF, the 1998 East Africa bombings, jihad
actions in the Balkans, Chechnya, and Azerbaijan, and support for al Qaeda generally.
The United States shared some of its information with the Saudis in an effort to spur
action, including evidence that al Haramain officials and employees in East Africa may
have been involved in the planning of the 1998 embassy bombings. The United States
sought information and reports from the Saudis on employees of al Haramain around the
globe and their connections to Bin Ladin, but received no substantive responses.

'?° Terrorist financing was also a component of the larger strategic plan Richard Clarke developed after the

embassy bombings.
'! The U.S. government’s efforts to understand al Qaeda financing, and its engagement with Saudi Arabia,

are described in chapter 3.

115
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 3 of 17

National Commission on Terrorist Attacks Upon the United States

The Saudis took little initiative with respect to their charities. They did not make tough
decisions or undertake difficult investigations of Saudi institutions to ensure that they
were not being used by terrorists and their supporters. Although the Saudis did institute
“Guidelines for Preventing Money Laundering” in 1995 and “Regulations on Charitable
Organizations and Institutions” in 1990, these were very loose rules whose enforcement
was doubtful. Moreover, the regulations covered only domestic charities, through the
Ministry of Labor and Social Affairs, and exempted all charities set up by royal decree.

There may have been a number of reasons for Saudi inaction. Certainly, as we have
discussed elsewhere (see chapter 2), the prominence of religion-based charities in Saudi
culture may have made the Saudis reluctant to entertain the idea that charities might be
involved in clandestine activities. Some in the United States suspected that the Saudis
were complicit or at least turned a blind eye to the problem posed by charities during this
period, although others vehemently disagreed.

Ultimately, however, the U.S. government simply did not ask much of the Saudis on
terrorist financing, and the Saudis were content to do little. We did not provide sufficient
information for the Saudis to act against charities like al Haramain, did not push the
Saudis to undertake investigations of charities like al Haramain, and did not request real
cooperation from the Saudis on intelligence or law enforcement matters relating to
charities like al Haramain.

Other areas of U.S. policy involving the Saudis took precedence over terrorist-financing
issues such as those concerning al Haramain. The U.S. government wanted the Saudis to
support the Middle East peace process, ensure the steady flow of oil, cut off support to
the Taliban, continue various mutually beneficial economic arrangements, and assist in
the containment of Iraq. Given these other interests, stopping the money flow to terrorists
was not a top priority in the U.S.-Saudi relationship.

Saudi policy was formulated at a very high level in the U.S. government. During the late
1990s, the U.S.-Saudi relationship was handled primarily by the U.S. government’s most
senior officials, including the secretaries of key departments (collectively referred to as
the “Principals”’), and often even by the President alone. This situation reflected the
significance of the U.S. interests involved, considerable Saudi ties to senior U.S. officials,
and U.S. willingness to accede to the strong Saudi preference for bypassing the U.S.
bureaucracy. One former NSC official noted that before 9/11, lower-level officials in
both governments generally handled terrorist financing, especially given the weakness of
the intelligence on terrorist financing and the issue’s low priority. The officials with
knowledge about it were not the ones interacting with the Saudis, and those who were
interacting with the Saudis did not push the issue of terrorist financing because their
concerns were different.

Moreover, the U.S. government had too little unilateral intelligence on HIF and on al

Qaeda’s funding mechanisms generally to press the Saudis. The Principals did not want
to confront the Saudis with suspicions; they wanted firm evidence. One NSC official

116
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 4 of 17

Terrorist Financing Staff Monograph

indicated that there was some intelligence regarding charities, but it did not rise to the
level of being actionable against any specific charity. As he said, “One individual could
be dirty, but it would be difficult to justify closing down a charity on that basis.”
Occasionally the U.S. government provided select pieces of information out of context,
but this method lessened the impact of the intelligence.

After 9/11

As we described in chapter 3, the 9/11 attacks generated a sudden and high-level interest
in terrorist financing. Attention invariably turned to Saudi Arabia. The U.S. and Saudi
governments initially agreed on a joint strategy, represented by the mutual U.S.-Saudi
action against two branches of al Haramain in March 2002 designating them as financiers
of terror.'*” But it was not until the spring of 2003 that the U.S. government developed a
coherent strategy on engaging the Saudis on terrorist financing and specified a senior
White House official to deal with the Saudi government on these issues. These elements
enabled the U.S. government to capitalize on a new Saudi commitment to countering the
financing of terrorism after the Riyadh bombings on May 12, 2003.

From 9/11 to March 2002: The U.S. government’s initial efforts to
organize the interagency process and engage the Saudis

Two things occurred immediately after 9/11: first, the U.S. government formed what
turned out to be a generally effective interagency coordinating committee on terrorist
financing; second, this group began discussing possible action to take against al
Haramain.

Immediately after 9/11, the U.S. government, for the first time, developed a generally
effective mechanism to coordinate agencies’ approach to terrorist finance. Initially, an ad
hoc gathering of agency representatives met under the auspices of the NSC to discuss and
coordinate terrorist-financing issues. In March 2002, this ad hoc group was formalized
by the NSC as the Policy Coordinating Committee (PCC), chaired by the Treasury
Department with representatives from eight agencies with relevant subagencies. The PCC
was designed to recommend to the President policy initiatives and actions aimed at
destroying the financial infrastructure of terrorism.

After 9/11, there was constant discussion at the PCC about how to engage the Saudi
government on terrorist financing. The U.S. government had new, aggressive legal
authorities under Executive Order 13224 and UN Security Council Resolution 1373 (see
chapter 5). The major issue was whether to use these coercive tools unilaterally or take a
more diplomatic approach in engaging Saudi Arabia and their charities. On the one hand,
using these tools against al Haramain, one of the most important Saudi charities, could be

' For an explanation of the IEEPA and UNSC process, see chapter 5, concerning al-Barakaat.

117
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 5 of 17

National Commission on Terrorist Attacks Upon the United States

counterproductive without Saudi support.'*? On the other hand, using these strong tools
could send an unequivocal message that the U.S. government and the international
community were serious about fighting terrorist financing.

After considering the options for designating al Haramain, the PCC decided to try to
engage the Saudis constructively on this charity. The United States wanted many things
from the Saudis: information about the hijackers, action against al Qaeda cells training
and operating in Saudi Arabia, intelligence sharing, and access to detained individuals.
Terrorist financing was not the only element of the U.S.-Saudi counterterrorism
relationship, nor the only objective of U.S. counterterrorism policy. The concern was that
if the U.S. government pressed the Saudis on al Haramain, the Saudis’ cooperation with
the United States on counterterrorism issues or other issues would be jeopardized.

Moreover, as was the case before 9/11, the intelligence was simply not strong enough
against the HIF headquarters to push the Saudi government to take aggressive action
against the whole organization. As an early 2002 strategy paper emphasized, the United
States needed to gather more solid, credible evidence on al Haramain, which could be
released to the Saudi government as a way to ensure continued Saudi cooperation.
Although the intelligence community expressed repeated concerns that al Haramain was
deeply corrupted, others argued that there was little actionable intelligence on the charity.
The intelligence presented to the policymakers was either dated, spoke to fund-raising for
“extremism” or “fundamentalism” and not for terrorism, or lacked specificity. Indeed,
because of the lack of specific intelligence, the U.S. government was in “asking mode”
on al Haramain when interacting with the Saudis.

There was also the sense that the Saudi government would prefer to cooperate quietly
with the U.S. government for internal political reasons. Perhaps they did not want to
create the impression that charities were under attack. U.S. officials agreed to pursue
quiet cooperation as long as the U.S. government saw concrete results. Although the
United States saw no concrete results until 2003, it stuck with its plan to engage the
Saudis quietly on terrorist-financing matters.

This cooperative approach was in evidence in the first interactions between U.S. and
Saudi officials on al Haramain. In late November 2001, Assistant Secretary of State
William Burns traveled to the Kingdom and shared U.S. concerns about terrorist
financing with his Saudi interlocutors.'** Al Haramain was not a subject of the questions
but was listed in the talking points for the trip as an entity of concern.

Then, on January 17, 2002, Assistant Secretary Burns and Ambassador Robert Jordan
provided the Saudi Crown Prince Abdullah and Foreign Minister Prince Saud al Faisal
with a proposal for a joint U.S.-Saudi freeze of the accounts of eight Saudi entities and

'3 Within weeks after 9/11, the United States used its new powers of designation to freeze the assets of a
prominent Saudi citizen, Yasin al Qadi. Apparently this unilateral action had created backlash in the Saudi

government.
°4 An OFAC team received a one page response in Arabic from Saudi Arabia to these concerns in January

2002. This response was never supplemented by the Saudi government.

118
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 6 of 17

Terrorist Financing Staff Monograph

individuals, including the al Haramain offices in Bosnia and Somalia. In their
discussions, the governments focused their attention on the U.S. proposal relating to the
two al Haramain branch offices.

In Saudi Arabia at the end of January, Richard Newcomb, the director of Treasury’s
Office of Foreign Assets Control (OFAC), also raised the possibility with his Saudi
interlocutors of joint designations. His talking points included two pages of classified
intelligence on al Haramain (and other charities) to provide the Saudis. The Saudis agreed
to “look into” the U.S. concerns on al Haramain. In addition to proposing joint
designations, the U.S. delegation expressed “concern” over several other HIF branches,
including those in Pakistan and Kenya (both designated in January 2004), and requested
information from the Saudis.

On February 5, 2002, the Saudi government issued an official statement acknowledging
“reports” of abuses by individuals affiliated with foreign offices of HIF and committed
publicly to take actions to prevent such abuse. However, the Saudis were slow to
respond to the U.S. proposal on the two al Haramain offices. The issue was taken up by
senior levels in the U.S. government. For example, Treasury Secretary Paul O’Neill
raised the proposal on his March 2002 trip to Saudi Arabia.

Eventually, the Saudi government agreed to the joint designation of the two al Haramain
offices, although it did not agree to designate the other six entities or individuals
originally proposed. On March 11, 2002, the U.S. and Saudi governments designated the
Somali and Bosnian offices of al Haramain, freezing their assets and prohibiting
transactions with them. Two days later the United Nations added the two branch offices
to its list of sanctioned entities under UNSCR 1267 and subsequent related resolutions.

From March 2002 to January 2003: The U.S. loses traction

In early 2002, senior-level government officials started developing a new U.S. strategy
toward Saudi Arabia on counterterrorism generally; terrorist financing would necessarily
play a part. Because the strategy was so politically sensitive, the task of developing it was
given to a small group within the NSC. As a result, PCC efforts to deal with the Saudis
on terrorist financing were placed on hold for most of 2002, while the NSC drafted the

strategy with a small team of agency representatives.

During that time, the U.S. government engaged the Saudis only sporadically on HIF.
Although in the spring of 2002 the U.S. government requested specific information from
Saudi Arabia on HIF associates, no action was to take place until the larger Saudi strategy
on counterterrorism had been finalized.

During the summer and fall of 2002, the U.S. government received information that the
Bosnian and Somali offices of al Haramain, whose assets were supposed to have been
frozen and offices shut down, had reopened or were still active in some fashion. In
September 2002, the U.S. government decided to approach the Saudi government about

119
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 7 of 17

National Commission on Terrorist Attacks Upon the United States

the reopenings of the Bosnian and Somali branches of HIF. The topic was raised at a
senior level by U.S. government officials in Washington and through official visits to the
region in the fall of 2002. The Saudis indicated they were unaware of the reopenings but
said they would work with the U.S. government on the issue.

During 2002, the Saudis repeatedly said they would be prepared to act against al
Haramain if the U.S. government provided them with more information, especially about
specific branch offices and individuals. Some thought that this was perhaps simply lip
service. For instance, in October 2002 Under Secretary of State Alan Larson raised with
the Crown Prince strong concerns about the activities of several al Haramain offices. The
Crown Prince responded that he was ready to act on any specific information the United
States could provide. Some viewed Saudi requests for information from the United
States as somewhat disingenuous given Saudi Arabia’s ability to gather information on
HIF and its supporters. Others were not so sure the Saudis had that ability. Perhaps even
a tit-for-tat dynamic was at work: the U.S. government did not share intelligence that the
Saudis thought we had, and which in many cases we did have, so the Saudi government
feigned ignorance in order not to share its intelligence with the United States.

In December 2002, the Deputies Committee (DC), which consists of deputy secretaries of
key departments and generally oversaw the activities of the PCC, approved the 12-step
program for reinvigorating U.S. policy toward Saudi Arabia on counterterrorism overall.
Much of the Saudi strategy dealt with terrorist financing. The steps included naming a
senior interlocutor on terrorist finance, sharing more concrete and actionable intelligence
with the Saudis, providing expertise in money laundering and investigative techniques,
encouraging more public discussion of the business risks generated by opaque financial
structures, pressuring Saudi nongovernmental organizations (NGOs) to adopt better
oversight practices, and encouraging better use of the media to combat terrorist financing.

Concurrently with the approval of the Saudi strategy, the DC formally pushed forward a
“nonpaper”’*> on al Haramain. Its goal was to compile U.S. government information on
HIF, urge the Saudis to take specific actions, and set time frames for such actions.
Agencies were tasked and the nonpaper was finalized by January 2003. Attention from
the DC gave the nonpaper sufficient strategic importance for agencies to devote resources
to developing it and motivated the approval of the release of information.

Two relatively new appointees, State Department Coordinator for Combating Terrorism
Cofer Black and Special Assistant to the President and Senior Director on Combating
Terrorism at the NSC Rand Beers, presented the nonpaper on al Haramain to Saudi
officials during a previously planned trip on counterterrorism at the end of January 2003.
At last, the U.S. government was providing the Saudis with the information that they had
long requested and that the U.S. government had previously failed to supply. The mood
was optimistic. A Department of State memo from January 2003 referring to al Haramain
and other cases of concern suggested that “there is every indication that the Saudis are

'> A “nonpaper” is generally understood to be an official but not definitive statement on an issue by aUSS.
government agency.

120
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 8 of 17

Terrorist Financing Staff Monograph

ready to work with us on these specific cases now that we have specific information for
them to act upon.”

The nonpaper set out al Haramain’s ties to terrorism, with details on various individuals,
branch offices, and methods of transferring funds. The nonpaper suggested that many al
Haramain field offices and representatives operating throughout the world, as well as its
headquarters in Saudi Arabia, appeared to be providing important support to al Qaeda.
The nonpaper recited prior U.S. requests for information from the Saudis and specific
points of intelligence the United States had shared with the Saudis since 1998, and it
noted that the United States had shared with the Saudis very little information between
9/11 and its delivery.'*° The nonpaper contained substantial information, including details
on the role of the HIF headquarters in supporting terrorist organizations. Reflecting the
new U.S. strategy, the U.S government was more direct and forceful in its message and
gave the Saudi government concrete challenges to meet.

While the nonpaper represented a new and effective tactic, its delivery illustrated a
shortcoming in the U.S. government’s approach to Saudi Arabia on terrorist financing:
Cofer Black and Rand Beers were new faces for the Saudis on this issue, and their
portfolios were much broader than the fight against terrorist financing. The U.S.
government had used a number of messengers, and there was no single person sending
the Saudi government a clear message; each individual spoke about terrorist financing
and HIF in the context of his or her predetermined and wide-ranging agenda; each
individual spoke to different interlocutors with differing responsibilities and chains of
command; and despite the sensitivity of the issue, not all the officials were senior. A U.S.
official on the PCC said that Saudi representatives complained that junior U.S. officials
were, in essence, bothering them. This failure to focus U.S. engagement of the Saudis
was most apparent during our efforts to raise the reopenings of the Bosnian and Somali
offices with Saudi officials. Within a six-week period in the fall of 2002, about five
emissaries from the United States approached the Saudi government. Our efforts suffered
from the diffusion of the message and, in the words of one senior U.S. official, the U.S.
government allowed itself to be “gamed” by the Saudis because it failed to speak with

one voice.

Moreover, it was acknowledged that the Saudis would be more likely to follow the
leadership of the U.S. government on this subject if a senior White House official served
as the interlocutor on terrorist financing to the Saudi government. In fact, the Saudis
requested such an appointment in the fall of 2002. The U.S. government agreed the idea
was a good one, but could not settle on an appropriate individual for the role until more
than six months later. This failure to appoint a senior White House official in a timely
fashion arguably caused a crucial delay in U.S. efforts to engage the Saudis on terrorist
financing and al Haramain. One U.S. terrorist-financing official said the Saudis did not
take terrorist financing seriously until this appointment was made. They looked at U.S.
actions and concluded that terrorist financing was not as important to the United States as

other issues.

'56 At that time, most of the intelligence on HIF released to the Saudis since 9/11 related to the Bosnian and
Somali offices of HIF, in connection with the U.S.-Saudi joint designation of these offices in March 2002.

121
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 9 of 17

National Commission on Terrorist Attacks Upon the United States

From 9/11 to May 2003: A lack of real cooperation from the
Saudis

After 9/11, Saudi government officials appeared to be in denial that vast sums of money
were flowing from Saudi Arabia to al Qaeda and related terrorist groups, or that the
government had any responsibility in connection with these money flows. Some in the
U.S. government thought that it simply never occurred to the Saudi government that a
charity could be a conduit for terrorist financing. As well, some argued that charities’
record keeping and the Saudi government’s controls were insufficient for the Saudi
government to know of al Haramain’s links to terrorist organizations.

Even after the Saudi government froze the assets of the Bosnian office in March 2002,
one senior Saudi government official denied in the press that the al Haramain office in
Sarajevo was engaged in illicit activities. He claimed that the U.S. government had
apologized to HIF for designating the wrong office. Another senior Saudi official
characterized any terrorist financing out of the Kingdom as involving isolated cases and
government controls as sufficient to prevent further problems; a third described HIF’s
clandestine activities as outside activities. We know these descriptions were inaccurate,
as the U.S. and Saudi governments continued to take action against al Haramain and its

employees.

Despite having frozen the accounts of entities and individuals listed by the United
Nations under UNSCR 1373, the Saudis did little else initially. They insisted that their
then 12-year-old charities law would suffice, as would their then 7-year-old anti-money-
laundering statute. Foreign operations of charities were not regulated until 2002, when
the Ministry of Islamic Affairs was put in charge of overseeing them. In the summer of
2002, the Saudis claimed that all out-of-country charitable activities had to be reported to
the Foreign Ministry, but later in the year a representative of the Foreign Ministry said he
knew of no such regulation. They claimed that they were reviewing all domestic charities
in 2002 but took no actions and did not inform the U.S. government of any findings, even
while clandestine activity continued. They repeated promises throughout 2002 to
establish a High Commission that would oversee all charitable activities, and then
claimed to have created such an entity in December 2002. By late fall of 2002 the Saudi
government said it was moving to regulate charities further, but the U.S. government had
not seen any documentation to that effect as of spring of 2003.

The Saudis responded to the increase in U.S. pressure, exemplified by the delivery of the
al Haramain nonpaper in early 2003, by articulating additional counterterrorism policies.
The measures were to include Ministry of Islamic Affairs preclearance of transfers of
charitable funds overseas, host government approval of all incoming charitable funds
from Saudi Arabia, and monitoring of charities’ bank accounts through audits,
expenditure reports, and site visits. Also in the spring of 2003, the Saudi Arabia
Monetary Authority (SAMA) was said to have instituted a major technical training
program for judges and investigators on terrorist financing and money laundering.

122
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 10 of 17

Terrorist Financing Staff Monograph

On al Haramain, the Saudi press reported in February 2003 that the Saudi government
was planning to restructure the charity. The Saudi government had also reportedly
initiated an investigation of al Haramain and was examining the personal accounts of
senior officers. However, the Saudis resisted taking action against a top HIF executive
despite U.S. requests. In April 2003, the Saudi government said that a new Board of
Directors would be appointed for al Haramain, no new offices would be permitted, no
third-country nationals would be hired, all overseas offices were to have their own local
lawyers and accountants, and a licensing procedure would be implemented. Again, there
was a sense that the Saudis wished to take such actions quietly. On May 8, 2003, the U.S.
embassy in Riyadh reported that the Saudi government would close ten al Haramain
branch offices pending review of their finances. This claim was reiterated several times
by Saudi or HIF officials over the summer of 2003.

Although these measures were all steps in the right direction, the Saudi government
generally failed to carry out a number of the actions pledged. For instance, they did not
close the branch offices of HIF as promised. As well, the Saudi government remained
cautious about speaking publicly about counterterrorism issues and ramping up its
reforms. Some in the U.S. government thought that public statements by the Saudi
government could have gone a long way toward deterring Saudi financial support for
terrorists. Admittedly, the Saudis were, and still are, cautious about how any reforms and
close cooperative efforts with the United States are perceived in the Kingdom.

Underlying the Saudi government’s reluctance to act against charities funneling money to
terrorists lay several issues.'*” First, at the time the Saudi government did not view al
Qaeda as a domestic threat. The Saudis simply may not have believed that al Qaeda
would attack it, despite the known hatred of al Qaeda and Bin Ladin for the Saudi regime.
The signs were there, however, and even the U.S. government had warned the Saudis of
possible upcoming attacks in the Kingdom.

Second, the Saudi government’s efforts on terrorist financing were domestically
unpalatable. It had been content for many years to delegate all religious activities,
including those of charities, to the religious establishment and was reluctant to challenge
that group. Since the Saudi government did not view al Qaeda as a domestic threat at that
time, it could not justify the potential domestic rancor that would have resulted from a
strong program against terrorism financing. The challenge was to find a way to increase
oversight over charities, mosques, and religious donations without endangering the
country’s stability. Of course, by failing to reassert some measure of control over the
religious establishment, the House of Saud was just as likely to endanger its stability.

'57 Ty addition to the points stated below, some with the U.S. government have speculated that the Saudi
government resisted investigating al Haramain and other charities for fear that such investigations might
unearth information implicating, or at least unflattering to, senior members of the Saudi government in the
clandestine activities of the charity. The Commission staff has found no evidence that the Saudi
government as an institution or as individual senior officials individually funded al Qaeda.

123
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 11 of 17

National Commission on Terrorist Attacks Upon the United States

Third, the Saudi government did not have the technical capabilities to stem the flow of
funds to terrorists from charities in Saudi Arabia. The Mubahith lacked the necessary
investigative expertise to track financial crimes. In addition, as described in an internal
OFAC document from April 2002, “The SAG [Saudi Arabian government] does not have
the legal or operational structures in place at this time to effectively implement the U.N.
resolutions relating to the prevention and suppression of the financing of terrorist acts.”'**
Although the Saudis claimed to be developing procedures to track all donations to and
from charities in October 2002, by January 2004 they were described as just starting to
have such capabilities. Moreover, tighter control over money flows can be achieved only
if the banks in Saudi Arabia are capable of monitoring and freezing funds. In 2002, the
USS. intelligence community was highly skeptical that Saudi banks had the necessary
technical abilities.

The U.S. government was willing, and made several offers, to provide the Saudis with the
necessary training. In 2002, the Saudis were described as “reluctant to host trainers from
U.S. agencies on issues related to terrorist financing. This reluctance is partly cultural—
an attitude that training implies a lack of equality between the parties.” The U.S.
government sent a Financial Services Assessment Team (FSAT) to Saudi Arabia in April
2002 to learn about Saudi financial systems and structures and ascertain opportunities for
U.S. assistance and training, but the Saudis failed to schedule several key meetings

during this trip.

May 2003: Turning a corner

On May 12, 2003, al Qaeda operatives detonated three explosions in an expatriate
community in Riyadh, killing Westerners and Saudi Arabians. Since then, the Saudi
government has taken a number of significant, concrete steps to stem the flow of funding
from the Kingdom to terrorists. The Saudi government, in one of its more important
actions after the bombings, removed collection boxes in mosques, as well as in shopping
malls, and prohibited cash contributions at mosques. This action was important because
terrorist groups and their supporters have been able to siphon funds from mosque
donations. Its sensitivity cannot be overestimated. U.S. Ambassador to Saudi Arabia
Jordan described the removal of the collection boxes as a “cataclysmic event.” It was a
real action that the Saudi public has both seen and been affected by; it has forced
everyone to think about terrorist financing.

On May 24, 2003, the Saudi government followed up with comprehensive new
restrictions on the financial activities of Saudi charities. These included a requirement
that charitable accounts can be opened only in Saudi riyals; enhanced customer
identification requirements for charitable accounts; a requirement that charities must
consolidate all banking activity into one principal account, with subaccounts permitted
for branches but for deposits only, with all withdrawals and transfers serviced through the
main account; a prohibition on cash disbursements from charitable accounts, with

138 Department of the Treasury, “Note to File,” undated, but probably October 2002.

124
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 12 of 17

Terrorist Financing Staff Monograph

payments allowed by check payable to the first beneficiary and deposited into a Saudi
bank; a prohibition on the use of ATM and credit cards by charities; and a prohibition on
transfers from charitable accounts outside of Saudi Arabia.

Also, after the May 12 bombings the Saudis initiated action to capture or otherwise deal
with known al Qaeda operatives, financial facilitators, and financiers in Saudi Arabia.
Early in this campaign, the Saudis killed a key al Qaeda leader and financial facilitator
known as “Swift Sword” in a firefight. The arrests and deaths of financial facilitators
such as Swift Sword have been a blow to al Qaeda and have hampered its fund-raising
efforts in the Kingdom.

The May 12 bombings caused the Saudis to become more receptive to disrupting al
Qaeda financing than ever before; the Saudis appeared ready to take seriously the
cooperative aspect of “quiet cooperation.” At the same time, the U.S. government finally
developed a coherent approach to working with the Saudis on combating terrorist
financing. The United States had an agenda, the Saudi strategy, and was able to engage
the Saudis more forcefully on the issues than it could have otherwise. Most importantly,
the U.S. government raised the terrorist-financing dialogue to the highest levels. Fran
Fragos Townsend, then deputy assistant to the President and deputy national security
advisor for combating terrorism, was designated the senior White House liaison on
terrorist financing, and President Bush has publicly stated his confidence in her.

The U.S. government was therefore in a position to test the Saudis’ new focus on terrorist
financing. Townsend traveled to Saudi Arabia in early August 2003 and again in
September 2003. One product of the early high-level meetings was the establishment of
the joint task force on terrorist financing, described below.

Despite the positive atmosphere of the August meetings, one area of continuing concern
was that the ten al Haramain branches the Saudi government had committed to closing in
May 2003, before the bombings, were apparently still operating. There was apparently
some question as to whether the al Haramain head office really had control over its
branch offices and therefore whether closing the branch offices was the responsibility of
the Saudi government or the host governments. Some in the U.S. government believe this
discussion to be specious, since resources regularly flow from the head office to the
branches. They argue, plausibly, that even if the Saudi government itself cannot control
the flows of funds, it can pressure the headquarters to cut off these resources to the
branches or pressure the heads of governments of the countries where the branch offices

are located to close those offices.

In the fall of 2003, the Saudi government passed new anti-money-laundering and
terrorist-financing legislation. This law updated the 1995 anti-money-laundering law and
improved reporting and record-keeping requirements, created new interagency
coordination mechanisms, and established a financial intelligence unit to collect and
analyze suspicious financial transactions. Also that fall, the Saudi government permitted
a team of assessors from the Financial Action Task Force (FATF) and the Gulf
Cooperation Council to visit the Kingdom to evaluate its anti-money-laundering and

125

Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 13 of 17

National Commission on Terrorist Attacks Upon the United States

terrorist-financing laws and regulations. Finally, in September 2003 the Saudi
government questioned the executive director of HIF, Abd al-Rahman Bin Aqil.

The joint task force on terrorist financing started operations in the fall of 2003 as well.
The task force consists of staff from both the United States and Saudi Arabia. The task
force seeks to identify and financially investigate persons and entities suspected of
providing financial support to terrorist groups. The U.S. government offered the Saudis
training in conducting financial investigations, and the Saudis “readily accepted.” This
training focused on the value of tracking financial transactions in an investigation and
provided practical case studies. The Saudi trainees were dedicated and enthusiastic,
although very much in need of training. One FBI official said, “I cannot overemphasize
the importance of this initiative and the efforts on the part of both our countries to make it

work 93139

In November 2003, another bombing in Riyadh further jolted the Saudi government to
take action on terrorist-financing issues and cooperate with the U.S. government. One
U.S. government assessment described the impact of the 2003 Riyadh bombings on the
Saudis, in conjunction with the May 12 bombings, as “galvanizing Riyadh into launching
a sustained crackdown against al-Qaida’s presence in the Kingdom and spurring an
unprecedented level of cooperation with the United States.” Similarly, it noted that “the
attack of 9 November [2003], which resulted in the deaths of a number of Muslims and
Arabs during the holy month of Ramadan, transformed Saudi public acceptance of the
widespread nature of the threat in the Kingdom.”’”° As a result, the Saudi government
may have more latitude to act against terrorist financing than ever before.

Similarly, FBI officials have ranked Saudi cooperation on terrorist-financing issues as
“good” since the May 12 and November 8, 2003, Riyadh bombings. The Saudis have
aggressively interrogated people in their custody about financial matters, including
questions posed by the U.S. government, and have provided actionable intelligence to the
U.S. government. A senior CJA counterterrorism official agreed that there had been
progress in our cooperation with the Saudis. He described it as “not perfect” but a big
improvement from the difficult days before 9/11. In a sign of the level of U.S. confidence
in the Saudi effort, the U.S. government is now releasing very sensitive intelligence to the

Saudis.

By late fall of 2003, Saudis confirmed that since 9/11 they had taken several significant
steps to modify their rules and regulations to stem the flow of funds to terrorists. In
addition to the new charities regulations, the removal of zakat boxes, and the task force,
as described above, the Saudi government said it had established the High Commission to
oversee all charities, contributions, and donations; required all charities to undergo audits
and institute control mechanisms to monitor how and where funds are dispersed; directed
all Saudi charities to suspend activities outside Saudi Arabia; and investigated numerous

139 Testimony of Thomas J. Harrington, Deputy Assistant Director, Counterterrorism Division, Federal
Bureau of Investigation, before the House International Relations Subcommittee on the Middle East and

Central Asia, March 24, 2004.
'° Department of State, Patterns of Global Terrorism 2003, April 2004, p. 67.

126
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 14 of 17

Terrorist Financing Staff Monograph

banks accounts suspected of having links to terrorism and frozen more than 40 such
accounts. The Saudi government has apparently also regulated hawalas through a
mandatory licensing requirement and legal, economic, and supervisory measures and
sought to decrease demand for unlicensed hawalas.

With respect to al Haramain, the Saudi and U.S. governments took further action at the
end of 2003 and into 2004. On December 22, 2003, the U.S. and Saudi governments
designated Vazir, an NGO in Bosnia, and its representative a terrorist supporter. It was
determined that Vazir was simply another name for the previously designated al
Haramain office in Bosnia. Then, in January 2004 the United States and Saudi Arabia
jointly designated four additional branches of al Haramain, in Indonesia, Kenya,
Tanzania, and Pakistan. The two governments held an unprecedented joint press
conference in Washington to announce the designation. The names of these branches
were subsequently submitted to the United Nations, which instituted an international
freeze on their assets. Also, in January 2004 Executive Director Aqil was removed from
his position. One public explanation was that the firing related to recent incidents
involving HIF’s operations in Bosnia.

On February 19, 2004, federal law enforcement took action against both the al Haramain
branch in Ashland, Oregon, and the imam of the HIF mosque in Springfield, Missouri.
The FBI and the IRS conducted searches of the Ashland offices of HIF as part of an
investigation into alleged money laundering and income tax and currency reporting
violations. Treasury took the additional step of freezing, during the pendency of an
investigation, the accounts of the branch in Oregon and the mosque in Missouri.

The Saudis continue to make changes to their charities laws and regulations. Rules
implementing the anti-money-laundering and terrorist-financing law were issued in
February 2004. Also in February 2004, FATF issued its report indicating that Saudi
Arabia was in compliance or near-compliance with international standards for almost
every indicator of effective instruments to combat money laundering and terrorist

financing.

On February 29, 2004, the Saudi government announced that it had approved the creation
of the Saudi National Commission for Relief and Charity Work Abroad to take over all
aspects of overseas aid operations and assume responsibility for the distribution of
charitable donations from Saudi Arabia. Although the U.S. government had no details
about this commission as of the end of March 2004, one former U.S. government
counter-terrorist-financing official said that such an entity could, in theory, replace
charities such as al Haramain by subsuming all of HIF’s activities into its own. Al
Haramain was said to be in the process of restructuring its administration and revising its
financial regulations. Al Haramain was planning to refocus its charity work on Saudi
Arabia, according to a statement by its new director, Sheikh Dabbas al Dabbas.

Continuing the pressure on al Haramain, the U.S. and Saudi governments jointly

designated five additional branches of al Haramain (Afghanistan, Albania, Bangladesh,
Ethiopia, and the Netherlands) on June 2, 2004. The United States also designated former

127
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 15 of 17

National Commission on Terrorist Attacks Upon the United States

Executive Director Aqil. These names were subsequently submitted to the United Nations
for an international freeze on their assets.

Lessons Learned

The U.S. government’s efforts to address issues raised by al Haramain before and after
9/11 teach some critical lessons. First, to cause the Saudi government to move against
terrorist financiers, the U.S. government has to acquire and release to the Saudis specific
intelligence that will enable them to take the necessary action. Thus, the U.S. government
was able to get the Saudis to take concrete actions against al Haramain, and charities
generally, after it released the nonpaper containing specific intelligence about al
Haramain and its employees to the Saudis in January 2003. Previously, the U.S.
government appears, for the most part, to have tried to encourage the Saudis to act on the
basis of little more than U.S. suspicions or assurances that the United States had
intelligence it could not release.

Second, counter-terrorist-financing efforts are an essential part of the overall set of
counterterrorist activities and must be fully integrated into the broader U.S.
counterterrorism strategy toward Saudi Arabia. Without such integration, those working
on terrorist financing might not be aware of other bilateral counterterrorism issues. The
U.S. government might then have the appearance of sending mixed or inconsistent
messages on counterterrorism to the Saudis. Once the broader Saudi strategy was
approved, the U.S. government was able to develop a consistent message across
counterterrorism issues. It could push the Saudis more forcefully on terrorist-financing
issues, including al Haramain, by, for example, delivering the nonpaper in January 2003.
In direct response to the nonpaper, the Saudi government announced its decision to close
ten branch offices of al Haramain.

Third, U.S. counter-terrorist-financing strategy must be presented to the Saudi
government by a high-level U.S. government representative. The perils of not speaking
through a single high-level interlocutor were clear in the case of the reopenings of the
Bosnian and Somali offices of al Haramain, as discussed above, when, as one key
terrorist-financing official believed, the Saudis “gamed” us. It was not until the
appointment of a senior White House official that the U.S engagement of the Saudi
government on terrorist financing yielded its most concrete results. A PCC participant
said the Saudis did not take terrorist financing seriously until Townsend was appointed.
She has been able to apply consistent pressure, over a period of time, with the full
backing of the White House.

Fourth, the U.S. government needs a distinct interagency coordinating committee focused
on terrorist financing to ensure that terrorist-financing issues are not lost in the overall
counterterrorism effort. The PCC proved to be generally effective in focusing the U.S.
government on terrorist financing and retaining the momentum of the immediate post-
9/11 period. It enabled different branches of the U.S. government to vet the information
on al Haramain and assess the options. It ensured that al Haramain—related issues were

128
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 16 of 17

Terrorist Financing Staff Monograph

not lost in the larger counterterrorism picture but were assessed periodically with the full
attention of the interagency representatives.

At the same time, the coordinating committee must be fully integrated with the overall
counterterrorism effort so that terrorist financing can be made part of the high-level
diplomacy necessary to win the cooperation of key allies like Saudi Arabia. One way to
achieve this goal is give the NSC the lead on the PCC, as is currently the case. The NSC
is better able than any individual agency to integrate terrorist financing into
counterterrorism through its leadership of the Counterterrorism Security Group; the NSC
is better able to see how the different terrorist-financing tools fit together; the NSC is
better able to task agencies and force agencies to reallocate resources; NSC leadership is
more efficient because it has the authority to resolve more issues rather than forcing them
up to the DC level; the NSC has the best access to information, especially regarding
covert action; and the NSC is not operational and is therefore more neutral. Throughout
the interagency process on al Haramain, NSC leadership of the PCC might have been
useful to expedite the process and clarify the U.S. position.

The concept of a “terrorist-financing czar” has been proposed at times; while perhaps it
could have been useful before 9/11, 1t would serve little purpose today and could detract
from the U.S. government’s current efforts and recent successes. Terrorist financing is
already on the agenda of senior officials, so there is no need for a czar to draw attention
to the issue. Each of the relevant agencies has established new sections on terrorist
financing or augmented existing groups to work on terrorist-financing issues. Further
elevating the issue might overemphasize it or, at the very least, detract from current
progress in the larger counterterrorism fight. Action against terrorist financing is only one
tool in the fight against terrorism and must be integrated into counterterrorism policy and
operations. A czar would undermine this goal. Such a position would also dilute the
power of a unified message and the benefits of a single messenger on all terrorism-related
issues that the leadership of the NSC seeks to provide.

Challenges Ahead

Much remains to be done to address terrorist-financing issues in Saudi Arabia and the
activities of Saudi charities, such as al Haramain, around the globe. Saudi Arabia has
worked hard to institute an improved legal and regulatory regime. It remains to be seen if
the new laws and regulations will be fully implemented and enforced, and if further
necessary legal and regulatory changes will be made. The Saudis still have not
established the National Commission as they promised in February 2004 and have not
demonstrated that they are willing and able to serve as the conduit for all external Saudi
donations in lieu of Saudi charities.'*’ Moreover, it is imperative that the Saudi
government develop its capabilities to monitor cash flows; otherwise, it will not be able
to assess a given entity’s or individual’s compliance with the new laws and regulations.
The Saudi government’s acceptance of training from the United States and other

'" The impact of the Saudi government’s June 2004 announcement of the formation of such a commission
remains to be seen.

129
Case 6:05-cr-60008-AA Document 28-2 Filed 08/21/07 Page 17 of 17

National Commission on Terrorist Attacks Upon the United States

countries would demonstrate its willingness to assure that gains in expertise and
capabilities are ongoing.

It remains to be seen whether the Saudi government will be willing to make politically
and religiously difficult decisions. The action it has taken in 2004 against several al
Haramain branch offices is unquestionably significant. Although the government has
frozen the assets of branches of al Haramain, it has not used its leverage with the head
office to ensure that no funds flow to the designated branches.'*” Similarly, the Saudis
have yet to hold prominent individuals—like the former head of al Haramain, for
instance—accountable for terrorist financing. Such actions would send a signal both to
potential targets and to the Saudi public that the Saudi government is serious about
stemming the flow of funds to terrorists and their supporters.

We are optimistic that the U.S. and Saudi governments are on the right track in their
mutual efforts on terrorist financing. Neither country can afford to lessen the intensity of
its current approach. The Saudi government has come far in recognizing the extent of its
terrorist-financing problem. We cannot underplay, however, the reluctance of the Saudi
government to make the necessary changes between 9/11 and late spring of 2003. It
remains to be seen whether it has truly internalized its responsibility for the problem. A
critical part of the U.S. strategy to combat terrorist financing will be monitoring,
encouraging, and nurturing Saudi cooperation while simultaneously recognizing that
terrorist financing is only one of a number of crucial issues on which the U.S. and Saudi

governments need each other.

'*° Again, the impact of the Saudi government’s June 2004 announcement dissolving al Haramain remains
to be seen.

130
